The facts and questions of law involved are fully stated in theper curiam opinion of the Supreme Court. That opinion makes a slight misstatement of fact which, however, is quite immaterial to the decision, the statement being that the plaintiff was entering the premises in question, whereas the testimony indicates that she was leaving them. This, of course, makes no difference in the result as the principles of law applicable are precisely the same.
The judgment will, therefore, be affirmed, for the reasons stated in the per curiam opinion of the Supreme Court.
For affirmance — THE CHANCELLOR, PARKER, CASE, BODINE, DONGES, BROGAN, VAN BUSKIRK, KAYS, DEAR, WELLS, KERNEY, JJ. 11.
For reversal — None. *Page 550 